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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 Tunga Gregory, individually and on behalf of all others
 similarly situated;                                                    Civil Action No: 4:18-cv-00403
                                           Plaintiff,

                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL


        -v.-


 Law Offices of Thomas E. Nelson, P.C.,
 Westhill Exchange, LLC and
 John Does 1-25,

                                       Defendant(s).


       Plaintiff Tunga Gregory (hereinafter, “Plaintiff” or “Gregory”), a Texas resident, brings this

Class Action Complaint by and through her attorneys, The Law Office of Jonathan Kandelshein,

against Defendant Law Offices of Thomas E. Nelson, P.C. (hereinafter “Defendant “Law Offices”

or “Law Offices”) and Defendant Westhill Exchange, LLC (hereinafter “Defendant “Westhill” or

“Westhill”) individually and on behalf of a class of all others similarly situated, pursuant to Rule

23 of the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s counsel,

except for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff's personal

knowledge.




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                  INTRODUCTION/PRELIMINARY STATEMENT

   1.      Congress enacted the Fair Debt Collection Practices Act (“the FDCPA”) in 1977 in

response to the "abundant evidence of the use of abusive, deceptive, and unfair debt collection

practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned

that "abusive debt collection practices contribute to the number of personal bankruptcies, to

material instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress

concluded that "existing laws…[we]re inadequate to protect consumers," and that "'the effective

collection of debts" does not require "misrepresentation or other abusive debt collection

practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate.           Id. § l692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this

action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                  NATURE OF THE ACTION
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   5.       Plaintiff brings this class action on behalf of a class of Texas consumers under§ 1692

et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt Collections

Practices Act ("FDCPA"), and

   6.       Plaintiff is seeking damages and declaratory and injunctive relief.

                                           PARTIES

   7.       Plaintiff is a resident of the State of Texas, County of Tarrant, residing at 8515

Boulevard 26, Apt. 1405, Fort Worth, TX 76180.

   8.       Defendant Law Offices is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 10 Exchange Place, Suite 507, Salt Lake

City, UT 84111.

   9.       Defendant Westhill is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 2851 S. Parker Rd., Ste 310, Aurora,

CO 80014.

   10.      Upon information and belief, Defendant Law Offices is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   11.      Upon information and belief, Defendant Westhill is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   12.      John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                    CLASS ALLEGATIONS
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   13.      Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   14.      The Class consists of:

            a. all individuals with addresses in the State of Texas;

            b. to whom Defendant Law Offices sent an initial collection letter attempting to

               collect a consumer debt;

            c. on behalf of Defendant Westhill;

            d. that included a false and misleading statements regarding consumers rights to

               dispute the debt as outlined in §1692g;

            e. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.

   15.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   16.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   17.      There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibits A, violate 15 U.S.C. §§ l692e and 1692g.
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   18.     The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

nor her attorneys have any interests, which might cause them not to vigorously pursue this

action.

   19.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

           a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

               that the Plaintiff Class defined above is so numerous that joinder of all members

               would be impractical.

           b. Common Questions Predominate: Common questions of law and fact exist as

               to all members of the Plaintiff Class and those questions predominate over any

               questions or issues involving only individual class members. The principal issue

               is whether the Defendants' written communications to consumers, in the forms

               attached as Exhibit A violate 15 U.S.C. § l692e and §1692g.

           c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

               The Plaintiff and all members of the Plaintiff Class have claims arising out of the

               Defendants' common uniform course of conduct complained of herein.

           d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

               class members insofar as Plaintiff has no interests that are adverse to the absent

               class members. The Plaintiff is committed to vigorously litigating this matter.
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               Plaintiff has also retained counsel experienced in handling consumer lawsuits,

               complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

               any interests which might cause them not to vigorously pursue the instant class

               action lawsuit.

           e. Superiority: A class action is superior to the other available means for the fair

               and efficient adjudication of this controversy because individual joinder of all

               members would be impracticable. Class action treatment will permit a large

               number of similarly situated persons to prosecute their common claims in a single

               forum efficiently and without unnecessary duplication of effort and expense that

               individual actions would engender.

   20.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff

Class predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   21.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                   FACTUAL ALLEGATIONS

   22.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   23.     Some time prior to September 25, 2017, an obligation was allegedly incurred to

MidAmerica Bank & Trust
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   24.     The MidAmerica Bank & Trust obligation arose out of transactions where Plaintiff

used MidAmerica Bank & Trust funds primarily for personal, family or household purposes.

   25.     The alleged MidAmerica Bank & Trust obligation is a "debt" as defined by 15

U.S.C.§ 1692a(5).

   26.     MidAmerica Bank & Trust is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   27.     Defendant Westhill, a debt collector and the subsequent owner of the MidAmerica

Bank & Trust debt, contracted with Defendant Law Offices to collect the alleged debt.

   28.     Defendants collect and attempt to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.



                         Violation – September 25, 2017 Collection Letter

   29.     On or about September 25, 2017, Defendant Law Offices sent the Plaintiff an initial

contact notice (the “Letter”) regarding the alleged debt owed to Defendant Westhill. See Letter

at Exhibit A.

   30.     When a debt collector solicits payment from a consumer, it must, within five days

of an initial communication send the consumer a letter that clearly states:

   (1) the amount of the debt;

   (2) the name of the creditor to whom the debt is owed;

   (3) a statement that unless the consumer, within thirty days after receipt of the notice,

   disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

   valid by the debt collector;
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   (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

   day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

   verification of the debt or a copy of the judgment against the consumer and a copy of such

   verification or judgment will be mailed to the consumer by the debt collector; and

   (5) a statement that, upon the consumer's written request within the thirty-day period, the

   debt collector will provide the consumer with the name and address of the original creditor,

   if different from the current creditor. 15 U.S.C. § 1692g(a).

   31.     This letter is commonly referred to as the “G notice.”

   32.     The “G-Notice” in the September 25, 2017 letter does not meet the required

guidelines of the FDCPA and falsely state the requirements of the consumer.

   33.     Firstly, the “G-Notice” wrongfully advises the consumer that she must “notify

[Defendants] in writing that she disputes the debt or Defendants will assume the debt to be

valid.”

   34.     This language is false and misleading to the Plaintiff since a consumer may dispute

the debt with Defendants by any method in order to be a valid dispute. (See §1692g(a)(3)).

   35.     Defendants letter then improperly advises the consumer as to her rights under

§1692g as when it fails to properly state when notification in writing is required.

   36.     Defendants wrongfully advise the consumer that “if you notify us of a dispute, we

will obtain verification of the debt and mail a copy of such verification to you.”

   37.     However, in order to validly request verification of a debt, a consumer must request

same in writing. (See §1692g(a)(4)).
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     38.     Defendants’ letter fails on all accounts to inform the Plaintiff of her fundamental

  rights as a consumer to dispute the debt, and the methods in which different disputes and

  information requested must occur.

     39.     Plaintiff incurred an informational injury as Defendants falsely stated her rights

  under §1692g of the FDCPA which put her at imminent risk of losing her right to validate and

  dispute the debt.

     40.     As a result of Defendants’ deceptive, misleading and unfair debt collection practices,

  Plaintiff has been damaged.


                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     41.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     42.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     43.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     44.     Defendants violated §1692e :

             a. By making a false and misleading representation in violation of §1692e(10).

     45.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.


                                              COUNT II
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    VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                             §1692g et seq.

   46.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   47.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

   48.      Pursuant to 15 USC §1692g, a debt collector:


           Within five days after the initial communication with a consumer in connection with

   the collection of any debt, a debt collector shall, unless the following information is

   contained in the initial communication or the consumer has paid the debt, send the consumer

   a written notice containing –


                   1. The amount of the debt;

                   2. The name of the creditor to whom the debt is owed;

                   3. A statement that unless the consumer, within thirty days after receipt of

                      the notice, disputes the validity of the debt, or any portion thereof, the

                      debt will be assumed to be valid by the debt-collector;

                   4. A statement that the consumer notifies the debt collector in writing within

                      thirty-day period that the debt, or any portion thereof, is disputed, the debt

                      collector will obtain verification of the debt or a copy of a judgment

                      against the consumer and a copy of such verification or judgment will be

                      mailed to the consumer by the debt collector; and
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                       5. A statement that, upon the consumer’s written request within the thirty-

                            day period, the debt collector will provide the consumer with the name

                            and address of the original creditor, if different from the current creditor.

       49.     The Defendants violated 15 U.S.C. §1692g, by wrongfully advising Plaintiff of her

   rights and responsibilities as set forth in this section of the FDCPA.

       50.      By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

   conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

   and attorneys’ fees.


                                 DEMAND FOR TRIAL BY JURY

       51.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

   a trial by jury on all issues so triable.


                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff Tunga Gregory, individually and on behalf of all others similarly

situated, demands judgment from Defendant Law Offices of Thomas E. Nelson, P.C. and

Defendant Westhill Exchange, LLC, as follows:


       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Jonathan Kandelshein, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and
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   6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

just and proper.


   Dated: May 31, 2018                                  Respectfully Submitted,

                                                        THE LAW OFFICE OF
                                                        JONATHAN KANDELSHEIN

                                                        /s/ Jonathan Kandelshein
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